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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC
 This document relates to:
                                                   PRETRIAL ORDER NO. 164:
 Hardeman v. Monsanto, 16-cv-00525-VC
                                                   AMENDED JUDGMENT




       In light of the order granting in part Monsanto’s motion for judgment as a matter of law, see

Pretrial Order No. 160, Dkt. No. 4576, as well as the order granting Mr. Hardeman’s motion to

amend the interest rate, see Pretrial Order No. 163, Dkt. No. 4601, Edwin Hardeman shall recover

from Monsanto Co. the following sums for compensatory and punitive damages:

       Past economic loss               $200,967.10
       Past noneconomic loss            $3,066,667.00
       Future noneconomic loss          $2,000,000.00
       Punitive damages                 $20,000,000.00

       Monsanto shall pay prejudgment interest for past economic damages awarded

($200,967.10) at the rate of seven percent (7%) from the date of the filing of the Complaint,

February 1, 2016, through the entry of the original judgment on May 3, 2019, resulting in total

prejudgment interest of $45,748.92. Thus, the total judgment in this case pending determination of

awardable costs is $25,313,383.02.

       Monsanto shall pay postjudgment interest upon this judgment at the federal interest rate

governed by 28 U.S.C. § 1961, and shall pay for recoverable court costs incurred in this action by

Mr. Hardeman as determined by this Court following review of Mr. Hardeman’s bill of costs.
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       Execution may issue for all amended judgment amounts, interests, and costs thirty (30) days

after entry of this judgment.

       IT IS SO ORDERED.

Date: July 17, 2019                                       ___________________________
                                                          Honorable Vince Chhabria
                                                          United States District Court
